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                                                                               1/28/2021




IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK
 SAMUEL LENOROWITZ,

                       Plaintiff,


               -v-
                                                 Civil Case Number: 7:19-cv-04460-NSR

 MOSQUITO SQUAD FRANCHISING, LLC
                                                              ORDER
                        Defendant.




IT IS HEREBY ORDERED:

THAT pursuant to the parties’ January 22, 2021 Stipulation of Dismissal, all claims asserted
against Defendant in Civil Action No. 7:19-cv-04460-NSR, are dismissed without prejudice; and

       THAT all parties shall bear their own attorneys’ fees and costs incurred in this action.



SO ORDERED THIS 28th day of January, 2021.




                                             __________________________________________
                                             HONORABLE NELSON STEPHEN ROMAN
                                             UNITED STATES DISTRICT JUDGE
